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EXHIBIT D
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Dr. Shirley N. Weber
California Secretary of State

©, Business Search - Entity Detail

The California Business Search is updated daily and reflects work processed through Wednesday, April 21, 2021. Please refer to
document Processing Times for the received dates of filings currently being processed. The data provided is not a complete or
certified record of an entity. Not all images are available online.

C1877036 ALL AMERICAN SPORTS CORPORATION, WHICH WILL DO
BUSINESS IN CALIFORNIA AS, ALL AMERICAN RECONDITIONING CORP.

Registration Date: 12/08/1993

Jurisdiction: DELAWARE

Entity Type: FOREIGN STOCK

Status: ACTIVE

Agent for Service of Process: CORPORATION SERVICE COMPANY WHICH

WILL DO BUSINESS IN CALIFORNIA AS CSC -
LAWYERS INCORPORATING SERVICE
(C1592199)

To find the most current California registered Corporate
Agent for Service of Process address and authorized
employee(s) information, click the link above and then
select the most current 1505 Certificate.

Entity Address: 7501 PERFORMANCE LANE
NORTH RIDGEVILLE OH 44039
Entity Mailing Address: 7501 PERFORMANCE LANE

NORTH RIDGEVILLE OH 44039

¥ Certificate of Status

A Statement of Information is due EVERY year beginning five months before and through the end of December.

Document Type Jf File Date JF PDF
SI-NO CHANGE 11/21/2018
SI-COMPLETE 03/28/2018
REGISTRATION 12/08/1993

* Indicates the information is not contained in the California Secretary of State's database.

e Ifthe status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.

e For information on checking or reserving a name, refer to Name Availability.

e Ifthe image is not available online, for information on ordering a copy refer to Information Requests.

e For information on ordering certificates, status reports, certified copies of documents and copies of documents not
currently available in the Business Search or to request a more extensive search for records, refer to Information
Requests.
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e For help with searching an entity name, refer to Search Tips.
e For descriptions of the various fields and status types, refer to Frequently Asked Questions.

Modify Search New Search Back to Search Results
